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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




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 UNITED STATES OF AMERICA                                : CASE NO. 1: 06 CR 0565-5
                                                         :
                                             Plaintiff   :
                                                         : ORDER ADOPTING REPORT AND
                         -vs-                            : RECOMMENDATION
                                                         :
                                                         :
 MARIO MINOR,                                            :
                                                         :
                                         Defendant.      :
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UNITED STATES DISTRICT JUDGE LESLEY WELLS


        This matter was referred (Doc. 476) to Magistrate Judge Kenneth S. McHargh for

a supervised release violation hearing. The hearing was held on 17 December 2010,

and a Report and Recommendation (“R&R”) followed. (Doc. 482). The R&R advised

finding Mr. Minor in violation of the terms of his supervised release, as admitted by the

Defendant during the hearing, and advised imposing a sentence of eight months
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incarceration with no further supervision to follow.

       No party has objected to Magistrate Judge McHargh’s recommendations. Any

further review by this Court would be a duplicative and inefficient use of the Court’s

limited resources. Thomas v. Arn, 474 U.S. 140 (1985); Howard v. Secretary of Health

and Human Services, 932 F.2d 505 (6th Cir. 1991); United States v. Walters, 638 F.2d

947 (6th Cir. 1981).

        Accordingly, the Court adopts Magistrate McHargh’s recommendations, finds

Mr. Minor in violation of the terms of his supervised release and imposes a sentence of

eight months incarceration with no further supervision to follow.



       IT IS SO ORDERED.



                                           /s/Lesley Wells
                                          UNITED STATES DISTRICT JUDGE




Date: 3 January 2011




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